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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                       CLERK’S OFFICE
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                                    June 26, 2025

                                      2025-1812

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                                               FOR THE COURT




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